           Case 2:10-mj-00242-DAD Document 77 Filed 08/24/11 Page 1 of 3


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6
     Attorney for Defendant
7    ELEXIE JACKSON
8
9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. 2:10-mj-00242-DAD
14                                   )
                     Plaintiff,      )               AMENDED
15                                   )     DEFENDANT’S UNOPPOSED MOTION AND
          v.                         )     PROPOSED ORDER TO MODIFY
16                                   )     CONDITIONS OF SUPERVISION
     ELEXIE JACKSON,                 )
17                                   )
                     Defendant.      )
18                                   )     Time:
     _______________________________ )     Judge: Hon. Dale A. Drozd
19
20
21        The Defendant, Elexie Jackson, was sentenced on May 17, 2011
22   following her guilty plea to misdemeanor violations of 18 U.S.C. §§
23   111(a)(1) and 1701.    She self-surrendered and has already completed her
24   30 day jail sentence.    The Court imposed several special conditions of
25   supervision including a condition that requires Ms. Jackson to reside
26   in either the Mather Residential Program or a residential community
27   corrections center (halfway house) for a period of 210 days.          If she
28   was admitted to the Mather Residential Program she would have also been
           Case 2:10-mj-00242-DAD Document 77 Filed 08/24/11 Page 2 of 3


1    required to be monitored by an EM device.
2         At the time of the sentencing hearing it appeared that Ms. Jackson
3    would be accepted into the Mather program.       Unfortunately, the Mather
4    Program rejected her claiming that its federal funding would prohibit
5    them from taking her since she was convicted of (misdemeanor) assault
6    on a federal worker.    Once released from jail, Ms. Jackson returned to
7    The Effort.   Her probation officer, Mr. Storey, then placed her at the
8    Clean and Sober Living House in South Sacramento.         The probation
9    officer has visited her at the program and believes that this is a good
10   placement for her.   She will be able to stay locally rather than go to
11   a halfway house in another city.      She has also resumed treatment with
12   her Sacramento based physician for her mental health issues.
13        Ms. Jackson and her probation officer both feel that this
14   placement makes more sense than sending her to a federal halfway house
15   far away from her family, home and treating physicians.          For these
16   reasons, the defendant moves to modify Special Condition number 5 of
17   her supervision as follows:
18        5. The defendant shall reside and participate, for 210
          days, in a residential community corrections center or any
19        other residential facility approved by her federal probation
          officer. Placement shall commence upon release from custody
20        pursuant to 18 U.S.C. § 3563(b)(11). While in a facility
          other than a community corrections center, the defendant
21        shall, at the discretion of the probation officer, be under
          a curfew and monitored by an electronic device. She shall
22        pay the costs attendant to this as determined by the
          probation office.
23
     All other conditions of supervision are to remain unchanged.
24
          The government, through Assistant U.S. Attorney Jill Thomas, has
25
     been contacted regarding this modification and has no opposition to
26
     this change in conditions.
27
28


     Motion to Modify Supervision          -2-
              Case 2:10-mj-00242-DAD Document 77 Filed 08/24/11 Page 3 of 3


1    Dated:     August 1, 2011
                                               Respectfully submitted,
2
                                               DANIEL J. BRODERICK
3                                              Federal Defender
4
5                                              /s/ Linda C. Harter
                                               LINDA C. HARTER
6                                              Chief Assistant Federal Defender
                                               Attorney for Defendant
7                                              ELEXIE JACKSON
8
9    Dated:     August 1, 2011                 BENJAMIN B. WAGNER
                                               United States Attorney
10
11
                                               /s/ Jill Thomas
12                                             JILL THOMAS
                                               Assistant U.S. Attorney
13
14
                                            ORDER
15
16          Good cause appearing and pursuant to Federal Rule of Criminal
17   Procedure 32.1(c)(2) and 18 U.S.C. § 3583(e)(2) the conditions of Ms.
18   Jackson’s supervision are modified as requested above.            All other
19   conditions remain in full force and effect.
20   DATED: August 23, 2011.
21
22
23
24   ddad1:crim
     jackson0242.ord.mot-modify.super.wpd
25
26
27
28


     Motion to Modify Supervision             -3-
